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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF OKLAHOMA

  (1) LARRY SPRIGGS,                                    )
                                                        )
                 Plaintiff,                             )
                                                        )
  v.                                                    )       Case No. CIV-2013-451-JHP-FHM
                                                        )
  (2) THE PHOENIX INSURANCE                             )
  COMPANY d/b/a TRAVELERS                               )
  INSURANCE, a Foreign Corporation,                     )
                                                        )
                 Defendant.                             )

                                      NOTICE OF REMOVAL

         Pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, Defendant The Phoenix Insurance

  Company d/b/a Travelers Insurance, a Foreign Corporation (“Defendant”), files this Notice of

  Removal of this case from the District Court of Tulsa County, Oklahoma. In support of removal,

  Defendant states the following:

         1.      On June 26, 2013, Plaintiff Larry Spriggs filed a Petition in the District Court of

  Tulsa County, Oklahoma, captioned Larry Spriggs v. The Phoenix Insurance Company d/b/a

  Travelers Insurance, a Foreign Corporation, Case No. CJ-2013-03027 (“State Court Action”).

         2.      Defendant was served by certified mail with the Summons and Petition in the

  State Court Action on July 3, 2013.

         3.      Defendant is filing this Notice of Removal within thirty (30) days after receipt of

  Plaintiff’s Petition. Thus, under 28 U.S.C. § 1446(b), Defendant’s time to remove has not yet

  expired.

         4.      Plaintiff Larry Spriggs is a resident of the State of Oklahoma. Defendant is a

  Connecticut corporation with its principal place of business in Hartford, Connecticut. Therefore,

  complete diversity exists between the parties to this case.
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         5.      In addition to complete diversity existing, the matter in controversy exceeds the

  sum or value of $75,000.00, exclusive of interest and costs, establishing this case is properly

  removed pursuant to 28 U.S.C. §§ 1332, 1441 and 1446. Plaintiff was an insured under an

  insurance contract between Defendant and Overhead Door Co. of Tulsa which provided

  UM/UIM coverage in the amount of $100,000.00. See Insurance Contract Declarations, Ex. 1.

  Following a motor vehicle accident on or about June 2, 2011, Plaintiff demanded the

  $100,000.00 UM/UIM policy limits under the applicable contract of insurance. See Petition, Ex.

  2, ¶¶ 6-10. Although Defendant paid Plaintiff $100,000.00 in UIM benefits pursuant to the

  contract, Plaintiff alleges in his Petition that Defendant breached the insurance contract by failing

  to pay UIM benefits owed to Plaintiff under the policy. See Ex. 2, ¶¶ 28-33. Specifically,

  Plaintiff alleges “Defendant Travelers has breached its contract of insurance and has wholly

  refused or neglected to pay Plaintiff the value of his damages” and “[s]aid failure constitutes a

  breach of contract of said insurance policy and the Plaintiff has sustained damages.” See Ex. 2, ¶

  33. Despite Travelers’ payment of policy limits to Plaintiff, Plaintiff admittedly intends to

  maintain the breach of contract claim for breach of the $100,000.00 UM/UIM policy. See July

  18, 2013 Letter from Derrick DeWitt to Donald Smolen, Ex. 3. Therefore, the amount in

  controversy exceeds $75,000.00, and the case is properly removable.

         6.      The United States District Court for the Northern District of Oklahoma is the

  appropriate court for filing a Notice of Removal from the State Court where Plaintiff’s State

  Court Action is pending, and accordingly, Defendant seeks to remove the State Court Action to

  this Court.




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         7.      Upon receiving the federally-filed Notice of Removal, Defendant will file a copy

  of the Notice of Removal with the State Court, and will provide written notice to all counsel, all

  in accordance with 28 U.S.C. § 1446(d).

         8.      Pursuant to 28 U.S.C. § 1446 and LCvR 81.2, a copy of the docket sheet and a

  copy of all documents filed and/or served in the District Court of Tulsa County, Case No. CJ-

  2013-03027 are attached hereto. See Docket Sheet, Ex. 4; Petition, Ex. 2; Notice of Service of

  Process, Ex. 5; Return of Summons on The Phoenix Insurance Company d/b/a Travelers

  Insurance, Ex. 6.

         9.      Under the provisions of 28 U.S.C. §§ 1441(a), (b), and (c), and all other

  applicable statutes, all of which Defendant The Phoenix Insurance Company d/b/a Travelers

  Insurance, a Foreign Corporation, has complied with, this cause of action is removable to the

  United States District Court for the Northern District of Oklahoma.


                                               Respectfully submitted,


                                               s/Derrick T. DeWitt
                                               Derrick T. DeWitt, OBA #18044
                                               Melanie K. Christians, OBA #30846
                                               NELSON TERRY MORTON DeWITT
                                               PARUOLO & WOOD
                                               P.O. Box 138800
                                               Oklahoma City, OK 73113
                                               Phone: (405) 705-3600
                                               Fax: (405) 705-2573
                                               dewitt@ntmdlaw.com
                                               mchristians@ntmdlaw.com
                                               Attorneys for Defendant




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                                CERTIFICATE OF SERVICE

        I hereby certify that on the 23rd day of July 2013, I forwarded the above and foregoing
  document to the following:

         Donald E. Smolen, II, OBA #19944
         Jack Beesley, OBA #30484
         SMOLEN, SMOLEN & ROYTMAN, PLLC
         701 S. Cincinnati Ave.
         Tulsa, OK 74119
         (918) 585-2667
         (918) 585-2669 (Fax)
         Attorneys for Plaintiff



                                            s/Derrick T. DeWitt




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